Case 1:16-cr-20549-RNS Document 1353 Entered on FLSD Docket 07/01/2019 Page 1 of 3



                              United States District Court
                                        for the
                              Southern District of Florida

   United States of America               )
                                          )
   v.                                     )
                                            Criminal Case No. 16-20549-CR
                                          )
   Philip Esformes, et al., Defendants    )

                         Order Denying Defendant’s Motion
                        to Acquit on the Forfeiture Verdicts
           This matter is before the Court upon Defendant Philip Esformes’s Motion
   to Acquit on the Forfeiture Verdicts (ECF No. 1325). For the reasons set forth
   below, the motion is denied.
           On April 9, 2019, the jury returned a forfeiture verdict finding the
   Defendant’s interests in seven operating companies was forfeitable. (ECF No.
   1263.) Esformes now asks this Court to acquit him on the jury’s verdict
   forfeiting his interests in the operating companies. (ECF No. 1325.) Esformes
   presents two arguments in his motion. First, he argues that forfeiture of
   “interests in” the operating companies is unauthorized under the money
   laundering forfeiture provisions at issue in this case, 18 U.S.C. § 982(a) and 21
   U.S.C. § 853. (Id. at 3.) Section 982(b)(1) incorporates the provisions of 21
   U.S.C. § 853. See 18 U.S.C. § 982(b)(1) (“The forfeiture of property under this
   section, including any seizure and disposition of the property and any related
   judicial or administrative proceeding, shall be governed by . . . [21 U.S.C.
   853].”). According to Esformes, under Section 853, the Government can only
   seek forfeiture of “interest in” property pursuant to Section 853(a)(3), which
   only applies to violations of RICO and continuing criminal enterprise offenders.
   (ECF No. 1325 at 3.) Because the government is seeking forfeiture against
   Esformes based on money laundering offenses under 21 U.S.C. §§ 853(a)(1)
   and (2), “interests in” forfeiture is not permissible.
           The Government responds by arguing that 21 U.S.C. § 853(a) does not
   apply. (ECF No. 1338 at 5.) By its express terms, Section 853(a) applies to “any
   person convicted of a violation of this subchapter[.]” 21 U.S.C. § 853(a).
   Because Esformes was not convicted of a drug crime under Title 21, this
   statute does not apply. (ECF No. 1338 at 5.)
           The Court finds that neither party has properly characterized the
   relationship between 18 U.S.C. § 982(a) and 21 U.S.C. § 853. Section 982(a)(1)
   states that the Government may seek forfeiture of “any property, real or
   personal, involved in such offense, or any property traceable to such property.”
Case 1:16-cr-20549-RNS Document 1353 Entered on FLSD Docket 07/01/2019 Page 2 of 3



   Section 853(a) states that the Government may seek “(1) property constituting,
   or derived from, any proceeds the person obtained, directly or indirectly, as the
   result of such violation; (2) any of the person’s property used, or intended to be
   used, in any manner or party, to commit, or to facilitate the commission of
   such violation[.]” If both of these applied, as argued by Esformes, there would
   be an inconsistency in the standards used to evaluate what is subject to
   forfeiture. Under one statute, the standard is “involved in” or “traceable to,”
   whereas under the other statute, it could be “derived from” or used to
   “facilitate” the crime. On the other hand, the Government’s argument, that
   Section 853 does not apply at all, would render 18 U.S.C. § 982(b)(1)
   superfluous. See Griffith v. United States, 206 F.3d 1389, 1395 (11th Cir. 2000)
   (“we disfavor interpretations of statutes that render language superfluous”).
   The Court declines to adopt either interpretation.
           In U.S. v. Kirshenbaum, 156 F.3d 784, 791 (7th Cir. 1998), the court held
   that Section 982(b)(1)’s “incorporation of various subsections of § 853
   incorporates those provisions’ procedures but applies them only to the
   designated forfeitures under § 982(a) rather than under § 853(a).” Although not
   an explicit holding, the Eleventh Circuit has also indicated that only the
   procedural portions of Section 853 are applicable to forfeiture under Section
   982(a). In U.S. v. McCorkle, the Eleventh Circuit noted that the subject property
   was “forfeited under § 982(a)(1) and any judicial proceeding relating to the
   forfeiture are governed by 21 U.S.C. § 853[.]” 321 F.3d 1292, 1294 n.2 (11th
   Cir. 2003) (emphasis added). In U.S. v. Guerra, the Eleventh Circuit also noted
   that for forfeiture under a subsection of Section 982, “forfeiture proceedings
   under this provision are governed by 21 U.S.C. § 853.” 216 Fed. App’x 906, 909
   (11the Cir. 2007) (emphasis added). Based on this language, the Court finds
   that Section 982(b)(1) only incorporates the procedural elements of Section
   853, and not the substantive description of what is subject to forfeiture found
   in Section 853(a). Accordingly, the Government may seek forfeiture of
   Esformes’s interests in1 the operating companies under 18 U.S.C. § 982(a)(1).
           Esformes next argues that the minority operating company interests
   were not “involved in” money laundering and therefore not subject to forfeiture.

   1 To the extent that Esformes is arguing that the word “property” does not
   include the Defendant’s interest in a company, the Court rejects that
   argument. The Defendant cites no case law for the proposition that property
   means only property that is owned 100% by the Defendant or does not include
   business or shareholder interests. In fact, Section 853, the statute that
   Esformes argues should apply, defines property as “(2) tangible and intangible
   personal property, including rights, privileges, interests, claims, and
   securities.” 21 U.S.C. § 853(b)(2) (emphasis added).
Case 1:16-cr-20549-RNS Document 1353 Entered on FLSD Docket 07/01/2019 Page 3 of 3



   (ECF No. 1325 at 4.) “Property eligible for forfeiture under 18 U.S.C. § 982(a)(1)
   includes that money or property which was actually laundered (“the corpus”),
   along with any commissions or fees paid to the launderer[ ] and any property
   used to facilitate the laundering offense.” U.S. v. Seher, 562 F.3d 1344, 1368
   (11th Cir. 2009) (quotation marks and citations omitted). The parties agree that
   the Government’s theory of forfeiture is based on the “facilitation” prong. (See
   ECF No. 1325 at 5 and ECF No. 1338 at 8.) “Property would facilitate an
   offense if it makes the prohibited conduct less difficult or more or less free from
   obstruction or hindrance.” Seher, 562 F.3d at 1268 (quotation marks and
   citations omitted). In Seher, the Eleventh Circuit held that the defendant’s
   interest in the inventory of the jewelry stores was subject to forfeiture because
   “Seher used telephone, business cards, and other company property to create a
   façade of legitimacy[.]” Id at 1369. Here, like in Seher, Esformes’s operating
   companies gave his business a façade of legitimacy as he used them to hold
   bank accounts and operate the various SNFs and ALFs engaged in the
   elaborate money laundering and kickback scheme. Accordingly, the Court finds
   that there is sufficient evidence to “permit a reasonable jury to conclude that
   the Government has proven, by a preponderance of the evidence, that the
   property is subject to forfeiture.” United States v. Armstrong, 2007 WL 809508,
   at *2 (E.D. La. Mar. 14, 2007).
          Accordingly, the Court denies the Defendant’s motion to acquit on the
   forfeiture verdicts (ECF No. 1325).

         Done and ordered in chambers, at Miami, Florida, on July 1, 2019.


                                               ________________________________
                                               Robert N. Scola, Jr.
                                               United States District Judge
